     USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 1 of 25


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

JEAN POULARD,                               )
                                            )
               Plaintiff,                   )
                                            )
               v.                           )       No. 2:16 CV 115
                                            )
THE TRUSTEES OF INDIANA                     )
UNIVERSITY, et al.,                         )
                                            )
               Defendants.                  )

                                   OPINION and ORDER

        Plaintiff Jean Poulard (“Poulard” or “plaintiff”), brings this suit following his

suspension from his teaching position at Indiana University Northwest Campus

(“IUN”). (DE # 1.) Poulard sues the Trustees of Indiana University, William J. Lowe,

Mark McPhail, Ida Gillis, and Gianluca Di Muzio, all in both their individual and

official capacities (collectively, “defendants”). (Id.)

        The matter is now before the court on cross motions for summary judgment. (DE

## 29, 32.) Additionally, plaintiff has filed three motions to strike portions of

defendants’ evidence and arguments. (DE ## 38, 42, 54.) These pending motions are all

fully briefed and ripe for ruling.

I.      BACKGROUND 1




1In the summary that follows, any unattributed facts are undisputed. This summary
provides an overview. Additional relevant facts will be referred to in the analysis that
follows.
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 2 of 25


       Plaintiff is a professor of political science at IUN, having earned tenure in 1990.

(DE ## 31-1 at 1; 34-1 at 4.) Defendant William Lowe (“Lowe”) has been employed as

the Chancellor of IUN since 2010. (DE # 31-6 at 3.) Defendant Mark McPhail

(“McPhail”) is the former Vice Chancellor of Academic Affairs for IUN. (Id.) Defendant

Ida Gillis (“Gillis”) is the former Director of Affirmative Action for IUN. (Id.) Defendant

Gianluca Di Muzio (“Di Muzio”) is a current faculty member and a former Department

Chair at IUN. (Id.; DE # 31-5 at 8.)

       On June 1, 2015, Di Muzio sent a letter or complaint to Gillis to express concerns

regarding plaintiff’s behavior based on a student evaluation from plaintiff’s

International Political Science, Latin America, (POLS-Y 362) class. (DE ## 31-2 at 121;

34-8 at 1.) The student evaluation stated that plaintiff would “frequently voice[] his

racist and sexist views” and that he was “obscenely flirtatious with his female students,

often saying perverted things.” (DE # 34-8 at 1.) Di Muzio also commented that he had

personally observed plaintiff kissing students on the hand and cheek. (Id.) Later, on

June 30, 2015, Lowe informed Gillis that plaintiff had also attempted to kiss his wife’s

hand. (DE # 34-9.)

       Gillis investigated these allegations and interviewed students from plaintiff’s

POLS-Y 362 class. (DE # 34-12 at 2.) She issued a report which summarized the student

interviews and said that plaintiff engaged in the following conduct: (1) he made

comments that women (including students in the class) were beautiful (id. at 3); (2) he


                                             2
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 3 of 25


made comments about liking blondes (id.); (3) he told one student that “last week [she]

looked really sexy in the green outfit” and rubbed her back (id. at 4); (4) he hugged

female students and greeted female students with kisses on the cheek or hands (id. at 3–

4); (5) he stated that black people were destroying Chicago and his solution to crime

would be a weekly hanging (id. at 5); (6) he made comments that women should not be

allowed to vote (id. at 7); and (7) he made disparaging comments about Muslim attire

(id. at 4). Furthermore, in an evaluation from 2010, Di Muzio stated that a student wrote

“I took great offense when [Poulard] stated how wrong and disgusting it is to be gay

and how terrible and messed up a child with same sex parents is going to be in the

head.” (DE # 34-3 at 1.)

       Plaintiff denies most of these actions. (DE # 36-1 at 65, 125, 128, 131–32.) But he

does not deny hugging and kissing students or his comments about gays and gay

parents. (See id. at 45–46.) He also states that he may have suggested the increased use

of capital punishment for crime in Chicago’s black neighborhoods. (Id. at 128.)

       After reviewing Di Muzio’s complaint and Gillis’s report, McPhail determined

plaintiff had violated the University Sexual Misconduct Policy and the University Code

of Academic Ethics. (DE # 34-19 at 4.) He then instituted discipline for these actions.

(Id.) Plaintiff was obligated to complete Indiana University’s sexual misconduct

training, he was put on leave without pay for a period of one semester beginning

January 1, 2016, and a letter of reprimand was placed in his personnel file. (Id.)


                                             3
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 4 of 25


       Based on these events, plaintiff filed a complaint in the Lake County Superior

Court on March 9, 2016. (DE # 4.) The case was removed to this court on April 6, 2016.

(DE # 1.) Plaintiff brings the following six claims in his complaint; each claim is brought

against all defendants: (1) compelling production of public records under Ind. Code § 5-

14-3-9; (2) declaratory judgment; (3) breach of contract; (4) deprivation of due process

under 42 U.S.C. § 1983; (5) violation of the First Amendment under 42 U.S.C. § 1983;

and (6) violation of free speech and writing under Ind. Const. Art. 1, § 9. (DE # 4 at 7–

14.)

       Discovery has been completed in this case, and defendants have moved for

summary judgment on all claims. (DE # 32.) Plaintiff also moves for partial summary

judgment on his breach of contract and First Amendment claims. (DE # 29.)

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 56 requires the entry of summary judgment, after

adequate time for discovery, against a party “who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). “[S]ummary judgment is appropriate—in fact, is mandated—where there are no

disputed issues of material fact and the movant must prevail as a matter of law. In other

words, the record must reveal that no reasonable jury could find for the non-moving

party.” Dempsey v. Atchison, Topeka, & Santa Fe Ry. Co., 16 F.3d 832, 836 (7th Cir. 1994)

(internal citations and quotation marks omitted).
                                              4
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 5 of 25


       The moving party bears the initial burden of demonstrating that these

requirements have been met. Carmichael v. Village of Palatine, Ill., 605 F.3d 451, 460 (7th

Cir. 2010). “[T]he burden on the moving party may be discharged by ‘showing’—that is,

pointing out to the district court—that there is an absence of evidence to support the

nonmoving party’s case.” Celotex, 477 U.S. at 325. Once the moving party has met his

burden, the non-moving party must identify specific facts establishing that there is a

genuine issue of fact for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986);

Palmer v. Marion County, 327 F.3d 588, 595 (7th Cir. 2003) (citing Celotex, 477 U.S. at 324).

In doing so, the non-moving party cannot rest on the pleadings alone, but must present

fresh proof in support of its position. Anderson, 477 U.S. at 248; Donovan v. City of

Milwaukee, 17 F.3d 944, 947 (7th Cir. 1994). In viewing the facts presented on a motion

for summary judgment, the court must construe all facts in a light most favorable to the

non-moving party and draw all reasonable inferences in favor of that party. Chmiel v. JC

Penney Life Ins. Co., 158 F.3d 966 (7th Cir. 1998).

III.   DISCUSSION

       The court will now address the pending motions. Although the motions to strike

were filed more recently than the motions for summary judgment, the court will

address them first, due to the questions they raise regarding the sufficiency of

defendants’ briefs and of the record before the court. The court will then address the

cross motions for summary judgment together, going through each claim in the

plaintiff’s complaint..
                                               5
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 6 of 25


       A.     Motion to Strike Inadmissible Evidence from Defendants’ Motion for Summary
              Judgment (DE # 38)

       Plaintiff argues that in defendants’ brief in support of their motion for summary

judgment (DE # 33) they cite to pieces of evidence in the record which are inadmissible

hearsay and should be stricken from the record. Generally, in their response,

defendants argue that the various pieces of evidence in question are not hearsay

because they are not offered for the truth of the matters asserted in those statements,

but instead, for some other purposes. See Fed. R. Evid. 801(c)(2).

       The court agrees with defendants’ argument, as it is consistent with the Federal

Rules of Evidence. If they do not offer the evidence in question to prove the truth of the

matter asserted, then the court need not strike the evidence as hearsay. Therefore, to the

extent the court does not strike any pieces of evidence at issue, the court will simply not

consider that evidence as proof of the truth of the matters asserted in the evidence.

       Given this general principle, the court will now more specifically discuss the

evidence in question. First, plaintiff moves to strike Gillis’s reports dated September 30,

2015, and January 8, 2016, which contain summaries of the investigations as to

plaintiff’s conduct and also contain statements from students and others regarding

plaintiff’s conduct (potential hearsay within hearsay). (DE # 39 at 3.) However, this

evidence is admissible because it is not offered to prove that plaintiff actually

performed any conduct, instead it is offered to show what Gillis believed was plaintiff’s

conduct. Furthermore, the reports themselves are admissible as business records under

Federal Rule of Evidence 803(6) because they are records of an act or opinion made

                                             6
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 7 of 25


during the investigation by Gillis (who had personal knowledge of the investigation),

and these documents were kept in the regular course of business activity, and not

simply to prepare for litigation.

       Second, plaintiff asks the court to strike Di Muzio’s evaluation and complaint

which also contain student’s statements regarding plaintiff’s conduct. (DE # 39 at 4.) For

the same reasons provided as to Gillis’s reports, this evidence is admissible because the

statements in the documents are not offered to prove the truth of the matters asserted

and they are business records.

       Third, plaintiff asks the court to strike four memoranda prepared by Gillis, some

of which contain statements from Lowe and his wife. (DE # 39 at 5.) For the same

reasons provided as to Gillis’s reports, this evidence is admissible because the

statements in the documents are not offered to prove the truth of the matters asserted

and they are business records.

       Fourth, plaintiff objects to emails sent from Gillis and McPhail to Poulard and

from Kipley Drew to Poulard’s counsel. (DE # 39 at 5–6.) But the emails are admissible

because they are offered for various purposes other than to show the truth of the

matters asserted in the emails. (See DE # 45 at 4–5.)

       Fifth, plaintiff objects to a Faculty Board of Review Decision on the grounds that

it is inadmissible hearsay and that it is an improper legal opinion under Rules 701 and

702 of the Federal Rules of Evidence. (DE # 39 at 6–7.) However, this is a business

record and is not offered to prove the truth of the conclusions reached in the decision.

Therefore it is admissible and it is not an improper legal opinion.
                                             7
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 8 of 25


       Sixth, plaintiff objects to a letter from Alexandria Zeiter. (DE # 39 at 7.) The court

will not consider this evidence as proof of the truth of the matter asserted in the letter,

and therefore there is no need to strike the letter.

       Seventh, plaintiff makes a rambling argument that authentication of documents,

alone, does not automatically make hearsay admissible. (DE # 39 at 8–9.) The court

agrees, but this is irrelevant because the court nevertheless finds the evidence at issue

admissible for the reasons stated in this order.

       Eighth, plaintiff objects to the Academic Handbook Disclaimer (DE # 34-30) by

saying it was not authenticated and it is hearsay. (DE # 39 at 9.) However, the specific

disclaiming statement was authenticated through an affidavit provided by defendants

(DE # 46-1) attached to their reply brief. Additionally, the disclaimer is not hearsay

because it is contractual language. Schindler v. Seiler, 474 F.3d 1008, 1010 (7th Cir. 2007).

Therefore, this argument fails.

       Ninth, plaintiff objects to various portions of deposition testimony. (DE # 39 at

10–11.) However, all of these statements are not hearsay as they are either statements of

an opposing party under Federal Rule of Evidence 801(d)(2) or they will not be

considered as proof of the truth of the matters asserted. Therefore, there is no need to

strike the statements.


       Lastly, plaintiff highlights several sentences in defendants’ brief that are not

supported by citations to evidence in the record. (DE # 39 at 11.) It is true that many of

these sentences are not immediately followed by a citation to the record. (See DE # 33.)


                                              8
    USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 9 of 25


But a good faith reading of the brief makes it clear that all of these arguments are

eventually supported by citations to the record later in the same paragraph; in most

cases that citation follows the sentence which comes immediately after the sentence to

which plaintiff objects. Therefore, there is no need to strike these statements.


       For these reasons, the first motion to strike is denied.

       B.     Motion to Strike Inadmissible Evidence from Defendants’ Response in Opposition
              to Plaintiff’s Motion for Summary Judgment (DE # 42)

       Plaintiff filed another motion to strike defendant’s evidence and a new 26-page

brief in support of that motion. (DE # 52.) This second motion is largely redundant and

it has already exhausted a large amount of the court’s resources.2 Defendants relied on

much of the same evidence in support of their own motion for summary judgment as

they did in response to plaintiff’s motion for summary judgment. Plaintiff already filed

a motion to strike evidence in support of defendants’ own motion for summary

judgment. Thus, this second motion to strike evidence in defendants’ response brief

makes mostly the same arguments about mostly the same evidence as the first motion

to strike.

       Where the evidence in question in the second motion to strike overlaps with the

first motion to strike, the court denies the second motion to strike for the same reasons

as the first one. Furthermore, in ruling on plaintiff’s partial motion for summary

judgment, the court will not rely on any evidence that plaintiff objects to in this motion,


2The court has already issued an order denying a motion for leave to file a brief with
excess pages in support of this second motion to strike. (DE # 50.)

                                              9
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 10 of 25


other than the evidence already found admissible in its analysis of the first motion to

strike. Therefore, the court denies the remainder of the motion as moot.

       C.     Motion to Strike Defendants’ Reply in Support of their Motion for Summary
              Judgment (DE # 54)

       Plaintiff files a 23-page argument (DE # 55) asking the court to strike portions of

defendants’ 16-page reply brief in support of their motion for summary judgment (DE

# 46). In ruling on defendants’ motion for summary judgment, the court will only rely

on plaintiff’s reply brief (DE # 46) for two notions: (1) defendants’ argument regarding

the scope of the University’s Sexual Misconduct Policy; and (2) defendants’ argument

and evidence that the disclaimer clause appeared in a version of the Academic

Handbook in 1990. Plaintiff objects to the admissibility of both of these portions of the

reply brief. The court will discuss those objections below. But first, to the extent plaintiff

objects to any other arguments or evidence in the reply, that the court does not rely on,

the third motion to strike is denied as moot.

       Plaintiff objects to defendants’ argument regarding the scope of the Sexual

Misconduct Policy and defendants’ inclusion of a new version of the policy as an

attachment. However, this argument is admissible as it is clearly not a “new” argument,

and instead is a direct response to arguments raised by plaintiff in the response brief.

(See DE # 46 at 8 (Referencing plaintiff’s argument in his response brief, stating “[i]n

making this argument, Dr. Poulard relies upon DeJohn v. Temple Univ., 537 F.3d 301 (3d

Cir. 2008) . . . .”).) Furthermore, plaintiff has already included a version of the Sexual

Misconduct Policy (from 2015) in the record, and the court will rely on that 2015 version

                                              10
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 11 of 25


in making its determinations. (See DE # 36-2.) Therefore, there is no need to strike this

argument and evidence.

       Next, plaintiff once again objects to defendants’ arguments and evidence related

to the disclaimer clause. The argument itself is acceptable because it is not a “new”

argument. Again, defendants are merely responding to Dr. Poulard’s arguments,

including a statement that “at the time that he accepted tenure, there was not a

disclaimer clause in the Academic Handbook to prevent IU’s policies from becoming

part of the contract[.]” (DE # 37 at 24.)

       Additionally, the evidence supporting this argument—Jennifer Kincaid’s

affidavit—is admissible because it was introduced to authenticate evidence and to rebut

arguments made for the first time in the response brief. See Mengers v. Gulf Stream Coach

Inc., 136 F. Supp. 3d 1006, 1011 (N.D. Ind. 2015) (stating that an affidavit included with

defendants’ reply brief was sufficient to authenticate documents).

       Finally, neither the disclaimer clause, nor the Sexual Misconduct Policy, are

hearsay. See Jones v. Lake County Sheriff’s Dep’t., No. 2:11-CV-356-TLS, 2014 WL 3928405,

*2 (N.D. Ind. Aug. 11, 2014) (holding that policies were not hearsay because “[t]he

documents, which describe prohibited workplace activity and the procedures for

reporting such activity, are intended to show the existence of the policy itself,

and the truth or falsity of the statements within the policy are not relevant”).

       For these reasons, the third motion to strike is denied.

       D.     Count I: Compelling Production of Public Records



                                             11
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 12 of 25


       In his complaint, plaintiff asks the court to compel defendants to produce certain

records. (DE # 4 at 7.) Defendants move for summary judgment on this claim, on the

grounds that they have already produced these records. (DE # 33 at 14.) Plaintiff does

not contest this basis for summary judgment (see DE # 37) and he admits that he has

been provided with the records (DE # 34-1 at 28). Accordingly, summary judgment is

appropriate on this claim and the claim is dismissed.

       E.     Count II: Declaratory Judgment

       In this claim, plaintiff asserts two constitutional challenges to IUN’s Sexual

Misconduct Policy. (DE # 4 at 8.) He alleges the policy is unconstitutionally vague in

violation of due process and unconstitutionally overbroad so that it chills protected

speech. (Id.) Defendants move for summary judgment on the claim.

              i.     Unconstitutionally Vague

       A policy is impermissibly vague if it “fails to provide a person of ordinary

intelligence fair notice of what is prohibited.” Brown v. Chi. Bd. of Educ., 824 F.3d 713,

716–17 (7th Cir. 2016) (quoting FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253

(2012)). Significantly, a policy need not define every term to survive a vagueness

challenge. Id. at 717. Rather, “[i]n the public employment context, . . . standards are not

void for vagueness as long as ordinary persons using ordinary common sense would be

notified that certain conduct will put them at risk of discharge.” Keating v. Univ. of S.

Dakota, 569 Fed. App’x 469, 471 (8th Cir. 2014) (quoting San Filippo v. Bongiovanni, 961

F.2d 1125, 1136 (3d Cir. 1992)).



                                               12
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 13 of 25


       Plaintiff argues that this statute fails to provide a clear definition of what

constitutes harassment. (DE # 4 at 8.) However, the policy clearly lists its definition of

sexual harassment. (DE # 31-10 at 5.) This definition would put ordinary persons on

notice that kissing students without their permission would put them at risk of

discharge. (See id.)

       In its response to the motion for summary judgment, plaintiff argues that the

policy is still vague because it provides discretion to Gillis and McPhail to interpret the

policy (for instance, to determine what constitutes conduct “of a sexual nature”). (DE

# 37 at 17.) However, a lack of discretion by decision-makers is not required for a

statute to avoid unconstitutional vagueness. Although Gillis and McPhail will be

interpreting the relatively broad policy language, plaintiff can still use his common

sense and ordinary intelligence to determine what will be a violation, based on the

definitions in the policy. See Keating, 569 F. App’x at 471 (“Although the policy employs

broad language, that alone does not necessarily prevent an ordinary person from

recognizing that certain conduct will result in discharge or discipline.”); see also Marshall

v. Ohio Univ., No. 2:15-cv-775, 2015 WL 1179955, *6 (S.D. Ohio Mar. 13, 2015) (holding

that Ohio University’s sexual harassment policy was not unconstitutionally vague

where it included an objective and subjective standard and put individuals on notice as

to what specific circumstances would be considered in reviewing the accused’s

conduct).

       For these reasons, there is no constitutional violation and the Sexual Misconduct

Policy is not void for vagueness.
                                             13
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 14 of 25


              ii.    Overbroad

       Plaintiff alleges that “IU Northwest’s Sexual Misconduct Policy is

unconstitutionally overbroad as applied to Poulard, as it was used to punish Poulard

for constitutionally protected speech.” (DE # 4 ¶ 63.) Plaintiff cites to Virginia v. Hicks,

539 U.S. 113, 123–124, (2003) in support of his claim. (DE # 37 at 19.) There, the Supreme

Court held “[t]he showing that a law punishes a ‘substantial’ amount of protected free

speech, judged in relation to the statute’s plainly legitimate sweep, suffices to invalidate

all enforcement of that law, until and unless a limiting construction or partial

invalidation so narrows it as to remove the seeming threat or deterrence to

constitutionally protected expression.” Hicks, 539 U.S. at 118–19 (internal citations and

quotation marks omitted).

       Plaintiff argues that the Sexual Misconduct Policy punishes his free speech by

defining such speech as sexual harassment. See DeJohn v. Temple Univ., 537 F.3d 301, 316

(3d Cir. 2008) (“[T]here is no ‘harassment exception’ to the First Amendment[] . . . .”).

However, the Sexual Misconduct Policy in the case at hand is clearly not overbroad. In

fact, it specifically states that “any form of speech or conduct that is protected by state

or federal law, including the First Amendment, is not subject to this policy.” (DE # 31-10

at 7.) Consequently, the Policy has a limiting construction that so narrows it as to

remove the threat to constitutionally protected expression. Therefore, there is no

constitutional violation and the Sexual Misconduct Policy is not overbroad.

       For these reasons, there are no material issues of fact, summary judgment is

appropriate on this claim, and Count II is dismissed.
                                              14
  USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 15 of 25


         F.     Count III: Breach of Contract

         Plaintiff alleges that IUN failed to adhere to the terms of its own policies set forth

in the Academic Handbook, the Sexual Misconduct Policy, and the Code of Academic

Ethics, all which—he claims—were incorporated into Poulard’s employment contract.

(DE # 4 ¶ 70.) Both parties move for summary judgment on this claim. (DE ## 30 at 22;

33 at 24.)

         According to plaintiff’s affidavit, plaintiff executed an employment contract with

IUN at the time he received tenure in 1990. (DE # 36-1 at 5.) The policies listed above

(the Academic Handbook, the Sexual Misconduct Policy, and the Code of Academic

Ethics) would be terms of the contract and would impose obligations on both IUN and

plaintiff. (Id.) Furthermore, plaintiff states in his affidavit that there was no clause in the

policies stating that they were not to be included in plaintiff’s employment contract. (Id.

at 6.)

         On the other hand, defendants have provided a copy of a disclaimer statement

from the Academic Handbook which states that “[s]tatements and policies in this

Handbook do not create a contract and do not create any legal rights.” (DE # 34-30.)

This document seems to be from an edition of the handbook updated in 2014. (See id.)

However, defendants also provide the affidavit of Jennifer Kincaid, the Chief Policy

Officer at Indiana University since 2009. (DE # 46-1 at 1.) She attests that this disclaimer

clause was in the version of the Academic Handbook that was in effect in 1990. (Id.)

         Accordingly, there is a dispute of fact as to the whether this disclaimer existed at

the time plaintiff purportedly entered into an employment contract. Moreover, neither
                                                15
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 16 of 25


party has submitted an actual signed employment contract from 1990. The court must

“not speculate as to what is contained in a document not in the record, and will

consider only the actual record before it.” United States v. Conservation Chem. Co. of Ill.,

785 F. Supp. 1215, 1230 (N.D. Ind. 1989).

       At this stage of the litigation, the court must construe all facts in a light most

favorable to the non-moving party. Thus, when analyzing plaintiff’s motion for

summary judgment, the court must construe the facts as though the disclaimer was in

place in 1990, which would, in turn, bar plaintiff’s breach of contract claim. See Packer v.

Trs. of Ind. Univ. Sch. of Med., 73 F. Supp. 3d 1030, 1041 (S.D. Ind. 2014) (“Because the

Academic Handbook explicitly disclaims any creation of a contract, Dr. Packer cannot

rely upon these policies as a basis for her breach of contract claim.”)

       On the other hand, when analyzing defendants’ motion for summary judgment,

the court must construe the facts as though the disclaimer did not limit the employment

contract in 1990. The disclaimer clause is the entire basis for defendants’ motion for

summary judgment as to this claim, and without it, their argument fails.

       In that light, the material terms of the contract remain unclear and in genuine

dispute by the parties. This genuine issue of fact precludes summary judgment.

Accordingly, summary judgment is denied as to both motions on this claim.

       G.     Count IV: Deprivation of Due Process

       Plaintiff brings a claim for deprivation of due process under 42 U.S.C. § 1983.

(DE # 4 at 10.) He argues that defendants’ policies and enforcement of their policies,

when he was disciplined, violated his due process rights.
                                              16
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 17 of 25


       Defendants concede that plaintiff had a property interest in his continued

employment. (DE # 33 at 21 n. 12.) Defendants cannot deprive plaintiff of this property

interest without due process. See Cleveland Bs. of Educ. v. Loudermill, 470 U.S. 532, 538

(1985). “An essential principle of due process is that a deprivation of . . . property be

preceded by notice and opportunity for hearing.” Id. at 542 (internal quotation marks

omitted). “The opportunity to present reasons, either in person or in writing, why

proposed action should not be taken is a fundamental due process requirement.” Id. at

546. “The tenured public employee is entitled to oral or written notice of the charges

against him, an explanation of the employer’s evidence, and an opportunity to present

his side of the story.” Id. “To require more than this prior to termination would intrude

to an unwarranted extent on the government's interest in quickly removing an

unsatisfactory employee.” Id.

       McPhail issued his disciplinary decision on November 2, 2015. (DE # 34-19 at 2.)

Prior to that deprivation date, Gillis called plaintiff on July 14, 2015. (DE # 36-1 at 3.)

Plaintiff admits that, during the call, Gillis “advised him [of] allegations of sexist and

racist behavior” and that she “wanted to meet with him to discuss.” (DE # 34-1 at 18.)

He also admitted that Gillis advised him that the allegations were “about inappropriate

remarks and behavior of a sexual and racist nature.” (Id.) Plaintiff was also aware that

the allegations were related to a “student evaluation.” (Id. at 17.) Following that call,

plaintiff understood there to be allegations against him that he was racist and sexist.

(DE # 36-15 at 22.)



                                              17
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 18 of 25


       On July 21, 2015, Gillis sent a letter to plaintiff once again informing plaintiff that

there were allegations against him that she was investigating. (DE # 34-17.) Gillis also

invited plaintiff to speak with her and to be interviewed. (See id. at 1.) However,

plaintiff refused to meet with Gillis. (DE # 34-1 at 16–17.) Instead, he sent an email to

Gillis in which he again acknowledged that he was aware of the nature of the

complaints against him and that they were related to racist and sexist remarks

(although he did not know the exact names of the people who had complained). (DE

# 34-14.)

       All of this serves as evidence of plaintiff’s notice and opportunity to be heard.

See, e.g., Cholewin v. City of Evanston, 899 F.2d 687, 689-90 (7th Cir. 1990) (written notice

of investigation and personal interview satisfied due process). It does not matter that

plaintiff did not actually attend the interview offered by Gillis. Flynn v. Sandahl, 58 F.3d

283, 288 (7th Cir. 1995) (“Employee cannot claim lack of due process when his employer

offered him such a pretermination hearing and he refused to attend.”) Furthermore, his

email to Gillis shows that he was aware of the charges and such a response can help to

demonstrate that notice was sufficient. See Fong, 692 F. Supp. at 950 (“Here, the record is

clear that the person in question understood the charges against him because he filed an

answer to them . . .” among other things.).

       Plaintiff argues that his due process rights were also violated because Gillis told

him he could not have an attorney present at his interview, which was a violation of

University policy. (See DE # 9 at 1.) However, this argument fails because plaintiff does

not have a federal due process right to state-mandated process. Charleston v. Bd. of Trs. of
                                              18
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 19 of 25


Univ. of Ill. at Chi., 741 F.3d 769, 774 (7th Cir. 2013) (“It may have been unfair for the

university not to follow its own procedures in [plaintiff’s] case, but it was not

unconstitutional.”)

       Lastly, plaintiff argues that his punishment was arbitrary and capricious because

plaintiff could only be sanctioned if the requirements of Title VII or IX were satisfied.

(DE # 37 at 14.) This argument is irrelevant and without merit. University policy does

not need to match Titles VII and IX. See Haegert v. Univ. of Evansville, 977 N.E.2d 924, 937

(Ind. 2012) (noting that Title VII did “not constitute an appropriate legal foundation” to

determine whether a professor committed sexual harassment as defined by university

policy).

       What matters is that plaintiff was given notice of the charges against him and an

opportunity to be heard, before McPhail disciplined him. Therefore, there is no material

issue of fact, plaintiff’s due process claim fails, summary judgment is appropriate, and

the claim is dismissed.

       H.     Count V: Violation of the First Amendment

       Plaintiff alleges that defendants infringed his First Amendment right to free

speech when he was suspended without pay in retaliation for the content of his

protected speech. (DE ## 4 at 12; 30 at 6.) Plaintiff moves for summary judgment on this

claim (DE # 30 at 6), and so do defendants (DE # 33 at 16).

       “In order to establish a prima facie case of unlawful First Amendment retaliation,

a public employee must establish that: (1) she engaged in constitutionally protected

speech; (2) she suffered a deprivation likely to deter her from exercising her First
                                              19
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 20 of 25


Amendment rights; and (3) her speech was a motivating factor in her employer's

adverse action.” Valentino v. Vill. of S. Chicago Heights, 575 F.3d 664, 670 (7th Cir. 2009).

“If a plaintiff establishes a prima facie case, the burden shifts to the employer to

demonstrate that it would have taken the same action in the absence of the protected

speech.” Id. “If the employer carries this burden, the plaintiff may still reach trial by

producing sufficient evidence to allow a reasonable fact finder to determine that the

employer’s reasons were merely a pretext for firing the employee, at least in part, for

exercising her First Amendment rights.” Id.

       In his motion for summary judgment, Poulard states that he “disputes the

veracity” of Gillis’s findings regarding the content of his speech. (DE # 30 at 8.) Also, as

the court stated in the background section of this order, plaintiff has denied most of the

statements attributed to him by Gillis. Nevertheless, for the following reasons, this

dispute of fact does not create a genuine issue of fact precluding summary judgment.

       In order for plaintiff to prevail on his First Amendment retaliation claim, he must

show both that his speech was protected and that his speech was a “motivating factor”

in the employer’s adverse action. However, the only evidence as to motivating factor,

before the court, is McPhail’s administrative action which specifically outlines the

motivating factors behind plaintiff’s suspension. (See DE # 34-19.) McPhail’s letter states

that his action was motivated by the alleged conduct and statements of Poulard as

described in Di Muzio’s complaint, Di Muzio’s evaluation, and Gillis’s report. (Id. at 2-

3.) Therefore, McPhail based his decision on defendants’ (and specifically Gillis’s) views

of plaintiff’s conduct and statements.
                                              20
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 21 of 25


       On the other hand, plaintiff’s view of the facts is that he did not make most of

these statements, or that when he did, he sometimes referred to things in a more mild or

humorous manner (e.g. capital punishment rather than hangings). However, there is no

evidence presented by plaintiff that any of these milder or non-existant statements

were a motivating factor behind McPhail’s administrative action. Nor does plaintiff

develop any argument that McPhail’s stated reasons were merely a pretext for his

punishment, and that the true reason for his suspension were these more mundane

statements.

       As such, plaintiff’s First Amendment retaliation claim could not survive if the

court viewed the facts in his favor regarding what statements he made. This means

there is no genuine issue of material fact regarding the content of plaintiff’s statements.

Therefore, in order for plaintiff’s claim to survive, he must demonstrate that the

statements that Gillis and McPhail cite to were protected speech, such that plaintiff

successfully states a prima facie case for his First Amendment claim.

       The determination of whether speech is protected is a question of law. Connick v.

Myers, 461 U.S. 138, 148 n.7 (1983). The First Amendment protects a public employee’s

speech if (1) the employee spoke as a citizen on a “matter of public concern” and, once

this is established, (2) the employee’s interest “in commenting upon matters of public

concern” outweighs “the interest of the State, as an employer, in promoting the

efficiency of the public services it performs through its employees.” Id. at 142, 147

(quoting Pickering v. Bd. Of Ed. Of Tp. High Sch. Dist. 205, Will Cnty. Ill., 391 U.S. 563, 568

(1968)).
                                              21
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 22 of 25


       Plaintiff’s statements regarding his students’ attractiveness were clearly not

matters of public concern and were, thus, not protected speech. But, some of his other

statements regarding gays, Muslims, and African Americans and crime, could

potentially be matters of public concern. Therefore, the court will consider the balance

between plaintiff’s interests in making those statements, and the state’s interests in

restricting them.

       The Seventh Circuit applied this Pickering balancing to the context of community

college instructors in Piggee v. Carl Sandburg Coll., 464 F.3d 667, 671-72 (7th Cir. 2006).

Applying a balancing test, the Seventh Circuit found that the instructor’s interests in

making comments regarding religion and homosexuality were not protected when

balanced against the school’s interest in the instructor’s adherence to the subject matter

of the course she was hired to teach (which in that case was cosmetology). Id. at 671-72.

Other courts have considered other interests in performing the balancing test. See

Nichols v. Univ. of So. Mississippi, 669 F. Supp. 2d 684, 699 (S.D. Miss. 2009) (“In

considering [a university’s] interest in efficient operations, the court can consider factors

such as whether the speech disrupts the regular and successful operation of the

enterprise, affects morale and discipline, fosters disharmony, impedes the performance

of the employee’s duties, or detrimentally impacts working relationships that depend

on loyalty and confidence.”)

       In the case at hand, McPhail specifically restricted plaintiff’s speech out of a

concern for “develop[ing] among students respect for others and their opinions.” (DE

# 34-19 at 3.) The court agrees with McPhail that IUN had strong interests in restricting
                                              22
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 23 of 25


plaintiff’s statements in order to preserve respect for the student body, harmony among

the IUN population, and to prevent the exclusion and isolation of the minorities

targeted by plaintiff’s speech.

       McPhail also concluded that the statements were not germane to the topic of the

class. (DE # 34-19 at 3.) However, plaintiff argues that his case can be distinguished

from Piggee on this issue, because, since he teaches a political science course, his

statements and comments were within the scope of his course. (DE # 37 at 7.) The court

disagrees.

       It is true that the teacher in Piggee taught cosmetology which was even further off

topic from the instructor’s speech. However, here, plaintiff’s course was a course

involving Latin American politics, an issue that was not addressed in any of the

statements at issue. Second, the court recognizes that faculty members have some right

to engage in academic debates, pursuits, and inquiries. Piggee, 464 F.3d at 671. And

being a political science course should give professors some leeway to delve into topical

or hot-button issues social and political issues. However, statements about gays being

“disgusting,” criticizing religious (Muslim) clothing, and asserting that African

Americans should be “hung,” are not topical statements and do not invoke hot-button

issues. They sound much more like harassing statements that IUN has a strong interest

in eliminating in order to foster an inclusive learning environment for all students,

including gays, Muslims, and African Americans.

       Accordingly, when performing the Pickering balancing test, the court concludes

that the interests of IUN outweigh Poulard’s interests. Therefore, the court finds that
                                             23
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 24 of 25


Poulard’s speech was not protected under the First Amendment. Accordingly plaintiff’s

claim fails and summary judgment is appropriate on the claim in favor of defendants.

Therefore the court will grant defendants’ motion for summary judgment as to this

claim and deny plaintiff’s motion as to this claim. Moreover, because the court has

found no constitutional violations of either due process or the First Amendment, the

individual defendants in this case receive qualified immunity on the § 1983 claims. See

Eversole v. Steele, 59 F.3d 710, 717 (7th Cir. 1995).

       I.      Count VI: Violation of Free Speech and Writing

       Plaintiff brings this claim against defendants pursuant to Article I, Section 9 of

the Indiana Constitution. (DE # 4 at 13.) Defendants move for summary judgment on

this claim, but, rather than presenting a new argument, they contend that their

argument on their First Amendment claim also applies here. (DE # 33 at 17 n.10.)

Defendants assert that the same standard applies to free speech claims under the First

Amendment and the Indiana Constitution. (See id.) Plaintiff agrees and simply adopts

his argument on his First Amendment claim in support of his Indiana free speech claim.

(DE # 37 at 8 n.7 (“Poulard sets forth the same argument as to the violations of free

speech that he suffered under the Indiana [C]onstitution.”).)

       Accordingly, for the same reasons that the court granted summary judgment on

Count V of the complaint, it also grants summary judgment on Count VI. Plaintiff’s free

speech and writing claim is dismissed.

IV.    CONCLUSION

       For the foregoing reasons, the court
                                               24
 USDC IN/ND case 2:16-cv-00115-JTM document 64 filed 09/28/18 page 25 of 25


      (1) DENIES plaintiff’s motion for partial summary judgment (DE # 29);

      (2) DENIES in part defendants’ motion for summary judgment (DE # 32) as to

the breach of contract claim;

      (3) Otherwise GRANTS in part (DE # 32) defendants’ motion for summary

judgment on all other claims;

      (4) DENIES plaintiff’s motions to strike (DE ## 38, 42, 54);

      (5) ORDERS the parties to file a joint status report regarding their willingness to

engage in a settlement conference before a Magistrate Judge by October 26, 2018. A trial

date will be set under a separate order.

                                           SO ORDERED.
      Date: September 28, 2018
                                           s/James T. Moody
                                           JUDGE JAMES T. MOODY
                                           UNITED STATES DISTRICT COURT




                                            25
